    Case 19-17973-SLM            Doc 13      Filed 06/10/19 Entered 06/10/19 16:25:33              Desc Main
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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
      Caption in Compliance with D.N.J. LBR 9004-1(b)

      RAS Citron, LLC
      Authorized Agent for Secured Creditor
      130 Clinton Road, Lobby B, Suite 202                              Order Filed on June 10, 2019
      Fairfield, NJ 07004                                                         by Clerk
                                                                           U.S. Bankruptcy Court
      Telephone: 973-575-0707                                              District of New Jersey
      Facsimile: 973-404-8886

      Laura Egerman, Esq. (LE-8250)

      In Re:                                                   Case No.:        19-17973-SLM

      Brian J. Carroll,                                        Chapter:           7
                                                                                  June 10, 2019
                Debtor.                                        Hearing Date: June 4, 2019

                                                               Judge:             Stacey L. Meisel




                    Recommended Local Form:                Followed               Modified



                                           ORDER VACATING STAY

     The relief set forth on the following page, is hereby ORDERED.




DATED: June 10, 2019
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Page 2
Debtor:       Brian J Carroll
Case No.:     19-17973-SLM
Caption of Order: Order Vacating Stay
______________________________________________________________________________



       Upon the motion of Nationstar Mortgage LLC d/b/a Mr. Cooper, (“Secured Creditor”)
under Bankruptcy Code section 362(d) for relief from the automatic stay as to certain property as
hereinafter set forth, and for cause shown, it is

       ORDERED that the automatic stay is vacated to permit the movant to institute or resume
and prosecute to conclusion one or more actions in the court(s) of appropriate jurisdiction to
pursue Secured Creditor’s rights in regard to the following:

        Real property more fully described as:

       2 Apollo Drive, Vernon, New Jersey 07422.

       It is further ORDERED that Secured Creditor, its successors or assignees, may proceed
with its rights and remedies under the terms of the subject mortgage and pursue its state court
remedies including, but not limited to, taking the property to sheriff’s sale, in addition to
potentially pursuing other loss mitigation alternatives, including, but not limited to, a loan
modification, short sale or deed-in-lieu of foreclosure.       Additionally, any purchaser of the
property at sheriff’s sale (purchaser’s assignee) may take any legal action for enforcement of its
right to possession of the property.

       It is further ORDERED that Secured Creditor may join the Debtors and any trustee
appointed in this case as defendants in its action(s) irrespective of any conversion to any other
Chapter of the Bankruptcy Code.

       Secured Creditor shall serve this Order on the Debtors, any trustee, and any other party
who entered an appearance on the motion.




                                                                                        19-17973-SLM
                                                                                            19-309425
                                                                                    Order Vacating Stay
